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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

 

 

Kwantra Varnado, Herold Payne, and Taj Varnado )
)
)
)
Plaintiffis) )
¥. 5 Civil Action No. 2:18-cv-08969 S (5)
Melis Aitiev, DD Logistics, Inc., and Wesco Insurance )
company )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

CVS TRUCKING, INC.

Through Louisiana Long Arm Statute through its Registered Agent:
Gheorghe H. Comsa

2300 E. Higgins Rd., Ste 230

Elk Grove Village, IL 60007

To: Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R, Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Jason Baer, Esq.

Pandit Law Firm

701 Poydras St., Ste 3950
New Orleans, LA 70139

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: Jan 31 2019

 

 
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Civil Action No. 2:18-cv-08969

 

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ, P. 4 (D)

This summons for (name of individual and title, if any) (iS Wi acl \ Nay | Nc.

was received by me on (date) -3O CQ

 

C1 I personally served the summons on the individual at (place)

 

on (date) or

 

07 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) » who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

” I returned the summons unexecuted because Cort ed Wa \ " | ) ncola { med 30
O Other (specify): Baller muh ole AHEM ois

 

My fees are $ ) for travel and $ e for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

owe _5|4\ 2019 acu (xeund

Server's signature

Stacie Coleman

Prinied name and title

4000 naman 200 Melairie,LA ‘0006

Server's address

Additional information regarding attempted service, ete:

 
